                                                                                Motion GRANTED.



                           UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

UNITED STATES OF AMERICA                     )
                                             )
                                             )
       v.                                    )       No. 3:15-00071-1
                                             )       Judge Trauger
                                             )
MATTHEW McKERVEY                             )

                  Unopposed Motion to Continue Pretrial Motions Deadline

       Defendant Matthew McKervey respectfully moves the Court to continue by three weeks

his deadline of September 4, 2015, to file his pretrial motions because he has not yet received the

discovery materials. AUSA Sunny Koshy has stated that he does not oppose this motion.


                                             Respectfully submitted,

                                             s/ Michael C. Holley
                                             MICHAEL C. HOLLEY
                                             Assistant Federal Public Defender
                                             810 Broadway, Suite 200
                                             Nashville, Tennessee 37203
                                             (615) 736-5047

                                             Attorney for Matthew McKervey


                                CERTIFICATE OF SERVICE

       I hereby certify that on September 4, 2015, I electronically filed the foregoing Unopposed
Motion to Continue Pretrial Motions Deadline with the U.S. District Court Clerk by using the
CM/ECF system, which will send a Notice of Electronic Filing to Mr. Sunny A.M. Koshy,
Assistant United States Attorney, 110 Ninth Avenue South, Suite A961, Nashville, TN 37203.

                                             /s/ Michael C. Holley
                                             MICHAEL C. HOLLEY




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